              Case 23-70665-AKM-11                      Doc 1       Filed 09/08/23            EOD 09/08/23 13:41:31                 Pg 1 of 36


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ElenaRose Capital LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  330 Cross Point Blvd.                                           345 Bluewater Falls Ct.
                                  Evansville, IN 47715                                            Apollo Beach, FL 33572
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Vanderburgh                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-70665-AKM-11                          Doc 1     Filed 09/08/23              EOD 09/08/23 13:41:31                       Pg 2 of 36
Debtor    ElenaRose Capital LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
              Case 23-70665-AKM-11                              Doc 1      Filed 09/08/23             EOD 09/08/23 13:41:31                    Pg 3 of 36
Debtor    ElenaRose Capital LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 23-70665-AKM-11            Doc 1       Filed 09/08/23         EOD 09/08/23 13:41:31              Pg 4 of 36
Debtor   ElenaRose Capital LLC                                                      Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case 23-70665-AKM-11                     Doc 1         Filed 09/08/23            EOD 09/08/23 13:41:31                   Pg 5 of 36
Debtor    ElenaRose Capital LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 8, 2023
                                                  MM / DD / YYYY


                             X /s/ Louis Capolino                                                         Louis Capolino
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President/Manager




18. Signature of attorney    X /s/ Weston E. Overturf                                                      Date September 8, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Weston E. Overturf
                                 Printed name

                                 Kroger, Gardis & Regas, LLP
                                 Firm name

                                 111 Monument Circle
                                 Suite 900
                                 Indianapolis, IN 46204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     317-777-7443                  Email address


                                 27281-49 IN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
              Case 23-70665-AKM-11                   Doc 1       Filed 09/08/23            EOD 09/08/23 13:41:31           Pg 6 of 36
Debtor     ElenaRose Capital LLC                                                             Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                      amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Buchta Leasing, LLC                                                     Relationship to you
District                                              When     9/08/23             Case number, if known
Debtor     Elmer Buchta Trucking, LLC                                              Relationship to you
District                                              When     9/08/23             Case number, if known
Debtor     Transport Acquisitions LLC                                              Relationship to you
District                                              When     9/08/23             Case number, if known
Debtor     WBF, LLC                                                                Relationship to you
District                                              When     9/08/23             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 6
     Case 23-70665-AKM-11             Doc 1      Filed 09/08/23      EOD 09/08/23 13:41:31            Pg 7 of 36

                                                                                FILE #:         202212193012286
                                                                                DATE FILED: 19 Dec 2022 06:36 PM




UCC FINANCING STATEMENT

DEBTOR INFORMATION
ORGANIZATION’S NAME:          WBF, LLC
MAILING ADDRESS:              420 SE Riverside Drive
CITY:                         Evansville                     POSTAL CODE:                  47713
STATE:                        IN                             COUNTRY:                      USA


SECURED PARTY INFORMATION
ORGANIZATION’S NAME:          KTB Equity, Inc.
MAILING ADDRESS:              420 SE Riverside Drive
CITY:                         Evansville                     POSTAL CODE:                  47713
STATE:                        IN                             COUNTRY:                      USA


COLLATERAL INFORMATION
THIS FINANCING STATEMENT COVERS THE FOLLOWING COLLATERAL:
The "Collateral" for purposes of this financing statement, including the following described personal property Debtor
now owned or hereafter acquired, (i) all goods, including without limitation, all inventory, supplies, furniture, fixtures,
appliances, and equipment; (ii) any and all additions, parts, attachments, accessions, accessories thereto, and
equipment now or hereafter The "Collateral" for purposes of this financing statement, including the following
described personal property Debtor now owned or hereafter acquired, (i) all goods, including without limitation, all
inventory, supplies, furniture, fixtures, and equipment; (ii) any and all additions, parts, attachments, accessions,
accessories thereto, and equipment now or hereafter attached or used in connection therewith, together with all
proceeds of the foregoing, including without limitation, all checks, cash, drafts, insurance proceeds, accounts
receivables, chattel paper, leases and instruments received by Debtor in connection with any sale, lease, exchange, or
disposition of any cash, drafts, insurance proceeds, accounts receivables, chattel paper, leases and instruments
received by Debtor in connection with any sale, lease, exchange, or disposition of any of the foregoing.




                                                                                                         - Page 1 of 2 -
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                                                                FILE #:     202212193012286
                                                                DATE FILED: 19 Dec 2022 06:36 PM




COLLATERAL IS:
  HELD IN TRUST
  BEING ADMINISTERED BY DECEDENT’S REPRESENTATIVE


FILING TYPE

  PUBLIC FINANCE TRANSACTION
  A DEBTOR IS A TRANSMITTING UTILITY
  MANUFACTURED-HOME TRANSACTION
  AGRICULTURAL LIEN
  NON-UCC FILING


ALTERNATIVE DESIGNATION (IF APPLICABLE)
  LESSEE/LESSOR
  CONSIGNEE/CONSIGNOR
  SELLER/BUYER
  BAILEE/BAILOR
  LICENSEE/LICENSOR


OPTIONAL FILER REFERENCE DATA
90481234


MISCELLANEOUS




                                                                                   - Page 2 of 2 -
     Case 23-70665-AKM-11              Doc 1     Filed 09/08/23      EOD 09/08/23 13:41:31            Pg 9 of 36

                                                                                FILE #:         202212193012288
                                                                                DATE FILED: 19 Dec 2022 06:37 PM




UCC FINANCING STATEMENT

DEBTOR INFORMATION
ORGANIZATION’S NAME:          Elmer Buchta Trucking LLC
MAILING ADDRESS:              2174 N. State Rd. 257 South
CITY:                         Otwell                         POSTAL CODE:                  47564
STATE:                        IN                             COUNTRY:                      USA


SECURED PARTY INFORMATION
ORGANIZATION’S NAME:          KTB Equity, Inc.
MAILING ADDRESS:              420 SE Riverside Drive
CITY:                         Evansville                     POSTAL CODE:                  47713
STATE:                        IN                             COUNTRY:                      USA


COLLATERAL INFORMATION
THIS FINANCING STATEMENT COVERS THE FOLLOWING COLLATERAL:
The "Collateral" for purposes of this financing statement, including the following described personal property Debtor
now owned or hereafter acquired, (i) all goods, including without limitation, all inventory, supplies, furniture, fixtures,
appliances, and equipment; (ii) any and all additions, parts, attachments, accessions, accessories thereto, and
equipment now or hereafter The "Collateral" for purposes of this financing statement, including the following
described personal property Debtor now owned or hereafter acquired, (i) all goods, including without limitation, all
inventory, supplies, furniture, fixtures, and equipment; (ii) any and all additions, parts, attachments, accessions,
accessories thereto, and equipment now or hereafter attached or used in connection therewith, together with all
proceeds of the foregoing, including without limitation, all checks, cash, drafts, insurance proceeds, accounts
receivables, chattel paper, leases and instruments received by Debtor in connection with any sale, lease, exchange, or
disposition of any cash, drafts, insurance proceeds, accounts receivables, chattel paper, leases and instruments
received by Debtor in connection with any sale, lease, exchange, or disposition of any of the foregoing.




                                                                                                         - Page 1 of 2 -
   Case 23-70665-AKM-11        Doc 1   Filed 09/08/23   EOD 09/08/23 13:41:31   Pg 10 of 36

                                                               FILE #:     202212193012288
                                                               DATE FILED: 19 Dec 2022 06:37 PM




COLLATERAL IS:
  HELD IN TRUST
  BEING ADMINISTERED BY DECEDENT’S REPRESENTATIVE


FILING TYPE

  PUBLIC FINANCE TRANSACTION
  A DEBTOR IS A TRANSMITTING UTILITY
  MANUFACTURED-HOME TRANSACTION
  AGRICULTURAL LIEN
  NON-UCC FILING


ALTERNATIVE DESIGNATION (IF APPLICABLE)
  LESSEE/LESSOR
  CONSIGNEE/CONSIGNOR
  SELLER/BUYER
  BAILEE/BAILOR
  LICENSEE/LICENSOR


OPTIONAL FILER REFERENCE DATA
90481236


MISCELLANEOUS




                                                                                   - Page 2 of 2 -
    Case 23-70665-AKM-11               Doc 1     Filed 09/08/23     EOD 09/08/23 13:41:31            Pg 11 of 36

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                                                                                DATE FILED: 19 Dec 2022 06:36 PM




UCC FINANCING STATEMENT

DEBTOR INFORMATION
ORGANIZATION’S NAME:          Buchta Leasing, LLC
MAILING ADDRESS:              PO Box 223
CITY:                         Otwell                         POSTAL CODE:                  47564
STATE:                        IN                             COUNTRY:                      USA


SECURED PARTY INFORMATION
ORGANIZATION’S NAME:          KTB Equity, Inc.
MAILING ADDRESS:              420 SE Riverside Drive
CITY:                         Evansville                     POSTAL CODE:                  47713
STATE:                        IN                             COUNTRY:                      USA


COLLATERAL INFORMATION
THIS FINANCING STATEMENT COVERS THE FOLLOWING COLLATERAL:
The "Collateral" for purposes of this financing statement, including the following described personal property Debtor
now owned or hereafter acquired, (i) all goods, including without limitation, all inventory, supplies, furniture, fixtures,
appliances, and equipment; (ii) any and all additions, parts, attachments, accessions, accessories thereto, and
equipment now or hereafter The "Collateral" for purposes of this financing statement, including the following
described personal property Debtor now owned or hereafter acquired, (i) all goods, including without limitation, all
inventory, supplies, furniture, fixtures, and equipment; (ii) any and all additions, parts, attachments, accessions,
accessories thereto, and equipment now or hereafter attached or used in connection therewith, together with all
proceeds of the foregoing, including without limitation, all checks, cash, drafts, insurance proceeds, accounts
receivables, chattel paper, leases and instruments received by Debtor in connection with any sale, lease, exchange, or
disposition of any cash, drafts, insurance proceeds, accounts receivables, chattel paper, leases and instruments
received by Debtor in connection with any sale, lease, exchange, or disposition of any of the foregoing.




                                                                                                         - Page 1 of 2 -
   Case 23-70665-AKM-11        Doc 1   Filed 09/08/23   EOD 09/08/23 13:41:31   Pg 12 of 36

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                                                               DATE FILED: 19 Dec 2022 06:36 PM




COLLATERAL IS:
  HELD IN TRUST
  BEING ADMINISTERED BY DECEDENT’S REPRESENTATIVE


FILING TYPE

  PUBLIC FINANCE TRANSACTION
  A DEBTOR IS A TRANSMITTING UTILITY
  MANUFACTURED-HOME TRANSACTION
  AGRICULTURAL LIEN
  NON-UCC FILING


ALTERNATIVE DESIGNATION (IF APPLICABLE)
  LESSEE/LESSOR
  CONSIGNEE/CONSIGNOR
  SELLER/BUYER
  BAILEE/BAILOR
  LICENSEE/LICENSOR


OPTIONAL FILER REFERENCE DATA
90481235


MISCELLANEOUS




                                                                                   - Page 2 of 2 -
        Case 23-70665-AKM-11                      Doc 1         Filed 09/08/23            EOD 09/08/23 13:41:31                Pg 13 of 36




Fill in this information to identify the case:

Debtor name         ElenaRose Capital LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 8, 2023               X /s/ Louis Capolino
                                                           Signature of individual signing on behalf of debtor

                                                            Louis Capolino
                                                            Printed name

                                                            President/Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 23-70665-AKM-11                  Doc 1         Filed 09/08/23              EOD 09/08/23 13:41:31                           Pg 14 of 36


 Fill in this information to identify the case:
 Debtor name ElenaRose Capital LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA                                                                        Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 IN Dept of Revenue                                  Taxes                                                                                                        Unknown
 P.O. Box 1028
 Indianapolis, IN
 46206
 Internal Revenue                                    Taxes                                                                                                        Unknown
 Service
 575 N. Pennsylvania
 Street
 Stop SB380
 Indianapolis, IN
 46204
 KTP Equity, Inc.                                    SEE UCC                   Unliquidated             $6,700,000.00            $22,000,000.00                   Unknown
 420 SE Riverside Dr.                                ATTACHED                  Disputed
 Evansville, IN 47713




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
           Case 23-70665-AKM-11                                          Doc 1              Filed 09/08/23                         EOD 09/08/23 13:41:31                               Pg 15 of 36

 Fill in this information to identify the case:

 Debtor name            ElenaRose Capital LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        6,700,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,700,000.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-70665-AKM-11                   Doc 1    Filed 09/08/23          EOD 09/08/23 13:41:31                Pg 16 of 36

Fill in this information to identify the case:

Debtor name       ElenaRose Capital LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                            Valuation method used        Current value of
                                                                                            for current value            debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership
                  Transport Acquisitions LLC - See
                  Statements and Schedules of Transport
          15.1.   Acquisitions LLC                                        90         %                                                Unknown


Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                             page 1
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Debtor        ElenaRose Capital LLC                                                        Case number (If known)
              Name




16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


17.        Total of Part 4.                                                                                                     $0.00
           Add lines 14 through 16. Copy the total to line 83.

Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                 page 2
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Debtor          ElenaRose Capital LLC                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 3
          Case 23-70665-AKM-11                           Doc 1          Filed 09/08/23              EOD 09/08/23 13:41:31                   Pg 19 of 36

Fill in this information to identify the case:

Debtor name          ElenaRose Capital LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    KTP Equity, Inc.                             Describe debtor's property that is subject to a lien               $6,700,000.00           $22,000,000.00
       Creditor's Name                              SEE UCC ATTACHED
       420 SE Riverside Dr.
       Evansville, IN 47713
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       2022                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0259
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
                                                       Disputed
       priority.



                                                                                                                        $6,700,000.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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                                           Delaware                                                     Page 1

                                                       The First State
                                                  CERTIFICATE

         SEARCHED SEPTEMBER 7, 2023 AT 11:29 A.M.
         FOR DEBTOR, ELENAROSE CAPITAL LLC

        1 OF 1                       FINANCING STATEMENT                                   20220502771
                           EXPIRATION DATE: 12/19/2027
   DEBTOR:               ELENAROSE CAPITAL LLC

                         3500 SOUTH DUPOINT HIGHWAY                                      ADDED      12-19-22

                         DOVER, DE US 19901

   SECURED:              KTB EQUITY, INC.

                         420 SE RIVERSIDE DRIVE                                          ADDED      12-19-22

                         EVANSVILLE, IN US 47713



                                               F I L I N G            H I S T O R Y

     20220502771                FILED 12-19-22                  AT 6:29 P.M.          FINANCING STATEMENT



                                  E N D       O F      F I L I N G             H I S T O R Y

     THE UNDERSIGNED FILING OFFICER HEREBY CERTIFIES THAT THE ABOVE
LISTING IS A RECORD OF ALL PRESENTLY EFFECTIVE FINANCING STATEMENTS,
FEDERAL TAX LIENS AND UTILITY SECURITY INSTRUMENTS FILED IN THIS
OFFICE WHICH NAME THE ABOVE DEBTOR, ELENAROSE CAPITAL LLC AS OF AUGUST
29, 2023 AT 11:59 P.M.




20251558936-UCC11                                                                        Authentication: 204112221
SR# 20233436749                                                                                      Date: 09-07-23
You may verify this certificate online at corp.delaware.gov/authver.shtml
          Case 23-70665-AKM-11                           Doc 1        Filed 09/08/23                  EOD 09/08/23 13:41:31                     Pg 21 of 36

Fill in this information to identify the case:

Debtor name        ElenaRose Capital LLC

United States Bankruptcy Court for the:          SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown            Unknown
          IN Dept of Revenue                                  Check all that apply.
          P.O. Box 1028                                          Contingent
          Indianapolis, IN 46206                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2020-present                                        Taxes

          Last 4 digits of account number 0259                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown            Unknown
          Internal Revenue Service                            Check all that apply.
          575 N. Pennsylvania Street                             Contingent
          Stop SB380                                             Unliquidated
          Indianapolis, IN 46204                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2020-present                                        Taxes

          Last 4 digits of account number 0259                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
    3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
       out and attach the Additional Page of Part 2.
3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                                Contingent
                                                                                Unliquidated
          Date or dates debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                            Basis for the claim:

                                                                            Is the claim subject to offset?           No   Yes


Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 2
                                                                                                              30999
          Case 23-70665-AKM-11                         Doc 1         Filed 09/08/23               EOD 09/08/23 13:41:31                       Pg 22 of 36

Debtor      ElenaRose Capital LLC                                                                  Case number (if known)
            Name


Part 3:     List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                              0.00
5b. Total claims from Part 2                                                                         5b.   +   $                              0.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                                 0.00




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
          Case 23-70665-AKM-11                     Doc 1        Filed 09/08/23            EOD 09/08/23 13:41:31                    Pg 23 of 36

Fill in this information to identify the case:

Debtor name       ElenaRose Capital LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      ElenaRose Capital LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Buchta Leasing,             PO Box 223                                                KTP Equity, Inc.                   D   2.1
          LLC                         Otwell, IN 47564                                                                             E/F
                                                                                                                                   G




   2.2    Elmer Buchta                2174 N. State Rd. 257 South                               KTP Equity, Inc.                   D   2.1
          Trucking LLC                Otwell, IN 47564                                                                             E/F
                                                                                                                                   G




   2.3    Louis Capolino              345 Bluewater Falls Court                                 KTP Equity, Inc.                   D   2.1
                                      Apollo Beach, FL 33572                                                                       E/F
                                                                                                                                   G




   2.4    WBF, LLC                    420 SE Riverside Dr.                                      KTP Equity, Inc.                   D   2.1
                                      Evansville, IN 47713                                                                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         ElenaRose Capital LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                           Gross revenue
      which may be a calendar year                                                     Check all that apply                         (before deductions and
                                                                                                                                    exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                       Description of sources of revenue            Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor      ElenaRose Capital LLC                                                                 Case number (if known)



          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case               Court or agency's name and                Status of case
             Case number                                                            address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                  Dates given                           Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor      ElenaRose Capital LLC                                                                Case number (if known)



               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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Debtor      ElenaRose Capital LLC                                                                Case number (if known)



    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.
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Debtor      ElenaRose Capital LLC                                                               Case number (if known)




      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Transport Acquisitions, LLC              Trucking company                                  EIN:         XX-XXXXXXX
            345 Bluewater Falls Ct.
            Apollo Beach, FL 33572                                                                     From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Douglas Prohaski                                                                                                   2023
                    330 Cross Point Blvd
                    Evansville, IN 47715
      26a.2.        Shannon Brewer                                                                                                     December 1,
                    Harding Shymanski                                                                                                  2022-present
                    21 SE Third St. Suite 500
                    Evansville, IN 47708

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?
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Debtor      ElenaRose Capital LLC                                                              Case number (if known)




           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Doug Capolino                          345 Bluewater Falls Court                           President/Manager
                                             Apollo Beach, FL 33572



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      ElenaRose Capital LLC                                                               Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 8, 2023

/s/ Louis Capolino                                              Louis Capolino
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President/Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Southern District of Indiana
 In re       ElenaRose Capital LLC                                                                            Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.   $      0.00     of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                   Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

                   Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Filing of lien avoidance and redemption motions; communications with clients, trustee and creditors; review and
             advise as to reaffirmation agreements.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Discharge litigations; 707 and 523 actions; excemption issues including, but not limited to, contested motions for
             the turnover by the trustee; contested lien avoidence motions; contested adversary proceedings for the purpose
             of stripping liens; contested motions to redeem; attendance at any reaffirmation hearings, if neccessary; and
             representation in any foreclosure action, collection suit, or non-bankruptcy matter.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 8, 2023                                                        /s/ Weston E. Overturf
     Date                                                                     Weston E. Overturf
                                                                              Signature of Attorney
                                                                              Kroger, Gardis & Regas, LLP
                                                                              111 Monument Circle
                                                                              Suite 900
                                                                              Indianapolis, IN 46204
                                                                              317-777-7443
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                              Southern District of Indiana
 In re    ElenaRose Capital LLC                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President/Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date September 8, 2023                                                   Signature /s/ Louis Capolino
                                                                                        Louis Capolino

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                               Verification of Creditor List (rev 12/01/18)
                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF INDIANA

In re:                                                           )        Case No.
ElenaRose Capital LLC                                            )
                                                                 )            Check if this form is submitted with an amended creditor
                                                                 )        list.
                                                      Debtor(s). )

                                               VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in Schedules D, E/F, G, and H are listed in the
creditor list submitted with this verification. This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment fee if there are entities listed on (my/our)
schedules that are not included in the creditor list submitted with this verification.

Dated: September 8, 2023                                             /s/ Louis Capolino
                                                                     Louis Capolino
                                                                     Signature of Debtor


                                                                     Signature of Joint Debtor

(Note: Certificate of Service not required.)
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                           BUCHTA LEASING, LLC
                           PO BOX 223
                           OTWELL, IN 47564




                           ELMER BUCHTA TRUCKING LLC
                           2174 N. STATE RD. 257 SOUTH
                           OTWELL, IN 47564




                           IN DEPT OF REVENUE
                           P.O. BOX 1028
                           INDIANAPOLIS, IN 46206




                           INTERNAL REVENUE SERVICE
                           575 N. PENNSYLVANIA STREET
                           STOP SB380
                           INDIANAPOLIS, IN 46204




                           KTP EQUITY, INC.
                           420 SE RIVERSIDE DR.
                           EVANSVILLE, IN 47713




                           LOUIS CAPOLINO
                           345 BLUEWATER FALLS COURT
                           APOLLO BEACH, FL 33572




                           WBF, LLC
                           420 SE RIVERSIDE DR.
                           EVANSVILLE, IN 47713
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                                         United States Bankruptcy Court
                                               Southern District of Indiana
 In re   ElenaRose Capital LLC                                                       Case No.
                                                            Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for ElenaRose Capital LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 8, 2023                              /s/ Weston E. Overturf
Date                                           Weston E. Overturf
                                               Signature of Attorney or Litigant
                                               Counsel for ElenaRose Capital LLC
                                               Kroger, Gardis & Regas, LLP
                                               111 Monument Circle
                                               Suite 900
                                               Indianapolis, IN 46204
                                               317-777-7443
